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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF OKLAHOMA

  HENRY R. MOLAND,                               )
                                                 )
                       Petitioner,               )
                                                 )
  vs.                                            )        CIV-21-299-JFH-KEW
                                                 )
  SCOTT D. CROW,                                 )
                                                 )
                       Respondent.               )

                                     OPINION AND ORDER

         Now before the court is Petitioner’s application for a writ of habeas corpus pursuant
  to 28 U.S.C. § 2254. It has come to the court’s attention that Petitioner was convicted in
  Washington County, Oklahoma, which is located within the territorial jurisdiction of the
  Northern District of Oklahoma. Therefore, in the furtherance of justice, this matter may
  be more properly addressed in that district.
         Accordingly, pursuant to 28 U.S.C. § 2241(d), Petitioner’s application for a writ of
  habeas corpus is hereby transferred to the Northern District of Oklahoma for all further
  proceedings.
         IT IS SO ORDERED this 18th day of October 2021.


                                                 _____________________________________
                                                 JOHN F. HEIL, III
                                                 UNITED STATES DISTRICT JUDGE
